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UNITED STATES DISTRICT COURT SEP 15 2016
SOUTHERN DISTRICT OF TEXAS
HOUSTON DIVISION David 2. Bradley, Clerk of Court

UNITED STATES OF AMERICA

 

 
  

 

 

 

V. CRIMINAL NO.
ANDREW IAN FARMER FILED UNDER SEAL
THOMAS GALEN MASSEY Ch Po ON ty
TOUR U4 U
INDICTMENT ~ _
Sealed
The Grand Jury charges: Public and unofficial staff access
to this instrument are
GENERAL ALLEGATION§$—oneted by court order.
I. The Fraudulent Scheme
1. From in or about May 2011 through at least in or about December 2012, the

defendants and others known and unknown engaged in an unlawful scheme to fraudulently
manipulate the market price and demand for the stock of Chimera Energy Corp. (“Chimera”), and
to defraud the public into buying the stock of Chimera, in order that Andrew Farmer, Thomas
Massey, and their associates could profit from the sale of substantial quantities of Chimera stock
that they controlled at fraudulently inflated prices.
A. Chimera’s “Sham” Initial Public Offering
2. In or about the summer of 2011, Farmer met C.G., and C.G. agreed to become the
Chief Executive Officer (“CEO”) of Chimera. Shortly thereafter, on or about August 5, 2011, C.G.
filed documents to incorporate Chimera and became its first CEO and its sole officer and director.
3. From in or about December 2011 to in or about January 2012, Chimera conducted
a sham Initial Public Offering (“IPO”). Farmer and his associates recruited individuals to act as

“straw-investors” in the Chimera IPO in order to make it appear that ownership of the freely

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tradeable shares of Chimera stock was not concentrated in one person or a group of people, when
in truth and fact, Farmer and his associates had de facto control of the freely tradeable shares of
Chimera stock through the straw-investors.

B. Form 211 Application Process Background

4. Microcap securities such as Chimera generally are characterized by low share
prices and little or no analyst coverage. The issuers of microcap securities typically are thinly-
capitalized and information about them often is limited. Microcap companies’ stocks are not listed
on national stock exchanges, such as the New York Stock Exchange (“NYSE”); rather, they are
usually quoted on other quotation mediums, such as the Over-the-Counter (“OTC”) Bulletin
Board, or in the Pink Sheets published by the National Quotation Bureau. Because of the lack of
information about microcap securities, when a broker-dealer publishes quotations for a microcap
stock, it raises the profile of the security. Thus, published quotations enable persons engaged in
microcap fraud to sell the shares to unsuspecting investors at inflated prices.

5. Microcap securities are regulated by the Financial Industry Regulatory Authority
(“FINRA”). Before a broker-dealer can publish a quotation for a microcap security, the broker-
dealer must submit an application on Form 211 and obtain prior authorization from FINRA’s OTC
Compliance Unit.

6. In addition, the U.S. Securities and Exchange Commission (“SEC”) has published
alist of “red flags” that, if detected, a broker-dealer should address before it can publish a quotation
of a microcap security. One such red flag is the “concentration of ownership of freely tradeable
securities” in one person or a group of people, which the SEC has identified as a “prominent feature

of microcap fraud cases.” This red flag is the reason that Farmer had to conceal his involvement
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in the Chimera IPO by distributing the stock to the 29 straw-investors in order to create the false
appearance of diversified ownership.
Cc. Chimera’s Form 211 Application

7. On or about December 22, 2011, Farmer contacted the broker-dealer Pennaluna to
request Pennaluna sponsor a Form 211 application for Chimera in order to publish a quotation of
Chimera stock.

8. As part of its diligence and compliance process, Pennaluna required Chimera to
provide certain information regarding the shareholders and how they were solicited to invest in
Chimera. Farmer and his associates responded to the inquiry with information that concealed the
facts that the IPO investors were in fact straw-investors for Farmer and his associates, and that
ownership of the majority of outstanding, freely tradeable stock of Chimera was therefore
concentrated in the hands of Farmer and his associates.

9. On or about January 24, 2012, Pennaluna submitted the Form 211 application to
FINRA’s OTC Compliance Unit. On or about February 1, 2012, a FINRA compliance examiner
sent Pennaluna a letter in which he explained that the Chimera application had been found
“deficient” and requested additional information regarding the relationship between Farmer and
Chimera.

10. On or about February 3, 2012, C.G. submitted Chimera’s response to FINRA’s
deficiency letter to Pennaluna for the purpose of transmitting the response to FINRA. The response
continued to conceal the extent of Farmer’s involvement in Chimera’s IPO and his de facto control
over the company and the straw-investors. On or about February 6, 2012, Pennaluna submitted

Chimera’s response to FINRA.
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11. On or about April 10, 2012, FINRA cleared Pennaluna’s Form 211 application to

publish quotations of Chimera stock.

D. Consolidation of Chimera Stock in the Hands of Farmer and His Associates

12. From in or about March 2012 to in or about May 2012, 28 of the 29 straw-investors

transferred all of their shares to one of the following seven entities:

a. Chartered Investments, a company owned by Farmer;
b. Oak Resources, a company putatively owned by Farmer’s former assistant,
L.C. Farmer was authorized to conduct transactions in the bank account of
Oak Resources.
C. TransAmerica Trading, a company owned by C.A., the mother and step-
mother of several straw-investors.
d. Kylemore Corp.
e€. Hillsmere, S.A.
f. Clarent Services Corp.
g. Levantera, S.A.
13. The only straw-investor that did not sell her shares at this time was Farmer’s wife,
A.T.
E. Farmers’ False Promotional Campaign Regarding Chimera

14. Beginning in or about July, 2012, the defendants orchestrated a false promotional

campaign designed to fraudulently inflate the price of Chimera stock.

15. Onor about July 27, 2012, Farmer caused the filing of a Form 8-K with the SEC in

which Chimera announced that it had entered into a “License Agreement” with “China Inland Oil

Exploration Company” (“China Inland”), purportedly granting Chimera an “exclusive license to
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develop and commercialize [China Inland’s] cutting edge technologies related to Non-Hydraulic
Extraction {[(“NHE”)].”

16. | Chimera’s purported agreement with China Inland and the NHE technology itself
were both entirely fictitious. Chimera did not have an agreement with China Inland, or any other
company, to license NHE technology, and Chimera did not have the NHE technology they claimed
to have.

17. Over the next several months, the defendants and their associates caused Chimera
to issue approximately 34 press releases and three additional Forms 8-K that publicized and
promoted Chimera’s purported licensing and development of the non-existent NHE technology.

18. | While these false statements were being published, the defendants and their
associates funded a false advertising campaign for Chimera stock. The defendants and their
associates engaged Crisp Media, an advertising placement firm, to run ads that touted Chimera’s
‘NEW SAFE FRACKING!” that “USES ZERO WATER!” and urged viewers to “INVEST
TODAY.”

19, | The defendants and their associates also engaged Marchex, another advertising
placement firm, to display text advertising through the Google mobile advertising network. The
text that was displayed in these advertisements included statements claiming that Chimera had a
“Newly licensed method” that “uses zero water and is environmentally neutral.”

20. The defendants and their associates also engaged Dow Jones & Company, publisher
of The Wall Street Journal, MarketWatch, SmartMoney, and Barrons, to display images
advertising Chimera on these publications’ websites. The images that were displayed touted

Chimera’s “NEW SAFE FRACKING” method and urged viewers to “INVEST TODAY.”
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F, The Sale of Chimera Stock to the Public for the Farmer’s Benefit

21.

While the defendants were conducting the false advertising campaign for Chimera

stock, the price of Chimera stock increased dramatically, and Farmer and his associates began to

sell their Chimera stock to the public for Farmer’s benefit.

22.

23.

24.

Chartered Investments:

a.

From on or about June 29, 2012 to on or about September 27, 2012,
Chartered Investments sold approximately 1,148,322 shares of Chimera

stock for total proceeds of approximately $692,554.51.

TransAmerica Trading:

a.

From on or about July 30, 2012 to on or about August 23, 2012,
TransAmerica Trading sold approximately 2,800,000 shares of Chimera
stock for total proceeds of approximately $3,224,630.87.

From on or about August 10, 2012 to on or about August 30, 2012,
TransAmerica Trading transferred $3,025,000 to Farmer’s company

Chartered Investments.

Oak Resources:

From on or about June 20, 2012 to on or about November 15, 2012, Oak
Resources sold approximately 2,212,146 shares of Chimera stock for total
proceeds of approximately $682,229.49.

From on or about August 10, 2012 to on or about November 27, 2012, Oak
Resources transferred approximately $600,000 to Farmer and his company,

Chartered Investments.
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25. From in or about June 2011 to in or about December 2012, Farmer, through his
companies Iridium and Chartered, paid Massey, through his company Fairwinds Consulting,
approximately $333,000.00 as compensation for Massey’s work in furtherance of the conspiracy.

I. Objects of the Conspiracy

26. The objects of the conspiracy include: enriching the members and associates of the
conspiracy by fraudulently manipulating the market price and demand for Chimera stock, and to
defraud the public into buying the stock of those companies, in order that members and associates
of the conspiracy could sell substantial quantities of Chimera stock that they controlled at
fraudulently inflated prices.

Ili. Manner and Means of the Conspiracy

27. | Among the manner and means by which the defendants and their co-conspirators
sought to accomplish the objects of the conspiracy included the following:

a. Recruiting individuals to act as “straw-investors” in the Chimera IPO in
order to make it appear that ownership of the freely tradeable shares of Chimera stock was not
concentrated in one person or a group of people.

b. Concealing the true nature of the defendants and their associates’
involvement in Chimera from FINRA, the SEC, and the investing public.

C. Causing the publication and dissemination of false and misleading
information about Chimera to the public through public filings, press releases, and public
advertisements, in order to induce members of the investing public to purchase Chimera stock at

fraudulently inflated prices.
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IV. Overt Acts

28. In furtherance of the conspiracy, and to effect the objects of the conspiracy, the
following overt acts, among others, were committed in the Southern District of Texas and
elsewhere:

29, On or about May 31, 2011, Farmer opened Chase Business Savings account
XXX8374 for his company, Chartered Investments.

30. From in or about June 2011 to in or about December 2012, Farmer, through his
companies Iridium and Chartered, paid Massey, through his company Fairwinds Consulting,
approximately $333,000.00 as compensation for Massey’s work in furtherance of the conspiracy.

31. | Onor about August 5, 2011, C.G. incorporated Chimera Energy Corporation in the
state of Nevada.

32, On or about December 22, 2011, Farmer contacted Pennaluna by email in order to
request that Pennaluna sponsor a Form 211 application to FINRA on behalf of Chimera. In the
email, Farmer stated “neither Carolyn or myself are involved in the deal in any way.”

33. On or about December 23, 2011, Farmer transferred $6,000 from his Iridium
Capital account XXXX6635 to L.F. On or about December 22, 2011, L.F. and P.F., Andrew
Farmer’s father and mother, respectively, purchased 200,000 Chimera shares each, for a total cost
of $6,000.

34. On or about December 23, 2011, Farmer transferred $6,300 from his Iridium
Capital account XXXX6635 to J.R.D. On or about December 23, 2011, J.R.D. and A.D., both

married to each other, purchased 200,000 Chimera shares each, for a total cost of $6,000.
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35, On or about December 27, 2011, Farmer transferred $6,300 from his Iridium
Capital account XXXX6635 to B.G. On or about December 27, 2011, B.G. and A.G.H., both
married to each other, purchased 200,000 Chimera shares each, for a total cost of $6,000.

36. Onor about January 6, 2012, Farmer transferred $3,000 from his personal! checking
account XXX8589 to L.C. through her Oak Resources account XXX8366. On or about January 6,
2012, L.C. purchased 200,000 Chimera shares for a total cost of $3,000.

37, On or about January 9, 2012, Farmer transferred $3,050 from his Iridium Capital
account XXXX6635 to B.L. On or about January 9, 2012, B.L. purchased 200,000 Chimera shares
for a total cost of $3,000.

38. Onor about January 12, 2012, Farmer transferred $10,000 from his Iridium Capital
account XXXX6635 to K.M. On or about January 11, 2012, K.M. and J.M., both married to each
other, purchased 200,000 Chimera shares each, for a total cost of $6,000.

39. On or about January 24, 2012, Farmer caused a Form 211 application to be
submitted to FINRA that concealed the facts that the 29 investors in Chimera’s IPO were in fact
straw-investors for Farmer and his associates, and that ownership of the majority of outstanding,
freely tradeable stock of Chimera was therefore concentrated in the hands of Farmer and his
associates.

40. | Onor about February 1, 2012, FINRA notified Pennaluna that Chimera’s Form 211
application was deficient and requested additional information. Among the information requested
by FINRA was, “A detailed explanation of the relationship between Andrew Farmer and
[Chimera],” and “who solicited investors, [and] how the solicitor knew them.” On or about
February 6, 2012, C.G., acting pursuant to Farmer’s instructions, caused Chimera’s response to be

submitted to FINRA, which continued to conceal the facts that the 29 investors in Chimera’s IPO
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were in fact straw-investors for Farmer and his associates, and that ownership of the majority of
outstanding, freely tradeable stock of Chimera was therefore concentrated in the hands of Farmer
and his associates.

4]. On or about July 27, 2012, Farmer caused a Form 8-K to be filed with the SEC that
falsely stated Chimera had entered into a “License Agreement” with “China Inland Oil Exploration
Company” (“China Inland”), purportedly granting Chimera an “exclusive license to develop and
commercialize [China Inland’s] cutting edge technologies related to Non-Hydraulic Extraction.”

42. On or about July 30, 2012, Massey caused a press release to be issued that falsely
stated Chimera had “licensed Non-Hydraulic Extraction,” and that Chimera had “put in place their
procedure for engineering this new method for mass production, patenting, licensing, and sales.”

43. On or about August 9, 2012, Massey caused a press release to be issued that falsely
stated Chimera had “executed a Memorandum of Understanding with PEMEX, also known as
Petroleos Mexicanos, regarding the utilization of [Chimera]’s revolutionary exothermic Non-
Hydraulic Extraction method throughout Latin America.”

44, On or about August 10, 2012, Farmer caused a Form 8-K to be filed with the SEC
that included as an exhibit the false August 9, 2012 press release regarding the Memorandum of
Understanding with PEMEX.

4S. On or about August 10, 2012, Massey caused a press release to be issued that falsely
stated Chimera management “has been scheduled to directly meet with PEMEX associates in
Mexico City beginning this Monday regarding a collaboration for utilizing [Chimera’s]
revolutionary exothermic Non-Hydraulic Extraction method throughout Latin America.”

46. On or about August 13, 2012, Massey caused a press release to be issued that falsely

stated Chimera management “arrives in Mexico City this morning for their direct meetings with

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PEMEX to collaborate on utilizing [Chimera’s] revolutionary exothermic Non-Hydraulic
Extraction system throughout Latin America.”

47. Onor about August 20, 2012, Massey caused a press release to be issued that falsely
stated that Chimera’s President, C.G., “has just returned from fruitful meetings in Mexico City,
where PEMEX and Chimera have begun to collaborate on utilizing [Chimera’s] revolutionary
exothermic Non-Hydraulic Extraction system throughout Latin America.”

48. On or about August 28, 2012, Farmer caused a Form 8-K to be filed with the SEC
that falsely stated: “During our recent visit to PEMEX we discussed engineering plans to utilize
our technology on 3 wells chosen by PEMEX,” and “We have an executed Memorandum of
Understanding with PEMEX related to our Non-Hydraulic Fracturing technology.”

49. On or about September 11, 2012, Massey caused a press release to be issued that
falsely stated Chimera management “has formulated a 90-day schedule for the first deployment of
Non-Hydraulic Shale Oil Extraction in the Chicontepic Basin of Mexico.”

50. On or about October 10, 2012, Massey caused a press release to be issued that
falsely stated “Chimera Energy Corp and PEMEX Complete First Collaboration at Chicontepic
Basin” and “the first activities in Poza Rica, Mexico between the two companies have been
completed with very good results.”

51. On or about October 10, 2012, Farmer caused a Form 8-K to be filed with the SEC
that included as an exhibit a letter from Chimera’s then-CEO to Chimera’s shareholders that falsely
stated: “Over the past several months we have worked tirelessly with our contacts at PEMEX to
finalize the Master Service Agreement and get our technology into the field for testing,” and “We
have executed [sic] Memorandum of Understanding with PEMEX related to our Non-Hydraulic

Fracturing technology.”

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52. On or about October 15, 2012, Farmer caused a letter to be submitted to the FINRA
Office of Fraud Detection and Market Intelligence that (1) concealed the facts that Chimera’s
purported license agreement with China Inland Oil Exploration Company and NHE technology
did not exist, and falsely stated (2) Chimera and its consultants “are working diligently” with
PEMEX towards an onsite demonstration of the NHE technology, and (3) Chimera “is still in the
process of negotiating the Master Service Agreement with PEMEX relating to the technology.”

53. From on or about June 29, 2012, to on or about September 27, 2012, Farmer,
through his company Chartered Investments, sold 1,148,322 shares of Chimera stock for total
gross proceeds of $692,554.51.

54. From on or about July 30, 2012, to on or about August 23, 2012, TransAmerica
Trading sold 2,800,000 shares of Chimera stock for total gross proceeds of $3,224,630.87.

55. From on or about August 10, 2012, to on or about August 30, 2012, TransAmerica
Trading transferred $3,025,000 from account XXXX3283 to Farmer, through his company
Chartered Investments.

56. From on or about June 20, 2012 to on or about November 15, 2012, Oak Resources
sold 2,212,146 shares of Chimera stock for total gross proceeds of $682,229.49,

57. From on or about August 10, 2012, to on or about November 27, 2012, Oak
Resources transferred approximately $600,000.00 from account XXXX8366 to Farmer’s personal

account XXXX8589 and Farmer’s Chartered Investments account XXXX8374.

COUNT ONE
(Conspiracy to Commit Wire Fraud, 18 U.S.C. § 1349)

58. Paragraphs 1 through 57 of this Indictment are hereby incorporated by reference as

though fully set forth herein.

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59. From in or about May 2011 and continuing through at least in or about December
2012, in the Southern District of Texas and elsewhere, the defendants,

ANDREW IAN FARMER, and
THOMAS GALEN MASSEY,

knowingly and willfully conspired and agreed with each other, and other persons both known and
unknown, to commit offenses against the United States, to wit: wire fraud, in violation of 18 U.S.C.
§ 1343, that is to devise and intend to devise, with intent to defraud, a scheme and artifice to
defraud, and to obtain money and property by means of materially false and fraudulent pretenses,
representations, and promises, and to transmit and cause to be transmitted, by means of wire
communication in interstate or foreign commerce, writings and signals for the purpose of

executing the scheme and artifice, in violation of 18 U.S.C. §1349.

COUNTS TWO THROUGH SEVENTEEN
(Wire Fraud, 18 U.S.C. § 1343)

60. Paragraphs | through 57 of this Indictment are hereby incorporated by reference as
though fully set forth herein.

61. From in or about May 2011 and continuing through at least in or about December
2012, in the Southern District of Texas and elsewhere, the defendants,

ANDREW IAN FARMER, and
THOMAS GALEN MASSEY,

aiding and abetting each other, and other persons known and unknown, devised and intended to
devise, with intent to defraud, a scheme and artifice to defraud, and to obtain money and property
by means of materially false and fraudulent pretenses, representations, and promises.

62. On or about each of the dates listed in the table below, in the Southern District of

Texas, and elsewhere, the defendants, for the purpose of executing and attempting to execute the

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scheme described above, did transmit and cause to be transmitted by means of wire
communications in interstate or foreign commerce, the following writings and signals, as more

specifically described below:

 

DEFENDANTS
COUNT DATE CHARGED PER
COUNT

DESCRIPTION OF WIRE
COMMUNICATION

 

Wire transfer from Farmer’s Iridium Capital
account XXXX6635 to L.F. for $6,000 to fund
L.F. and P.F.’s purchase of 400,000 shares of
Chimera stock.

2 12/23/2011 A.LF,

 

Wire transfer from Farmer’s Iridium Capital
account XXXX6635 to J.R.D. for $6,300 to
fund J.R.D. and A.D.’s purchase of 400,000
shares of Chimera stock.

3 12/23/2011 A.LF,

 

Wire transfer from Farmer’s Iridium Capital
account XXXX6635 to B.G. for $6,300 to fund
B.G. and A.G.H.’s purchase of 400,000 shares
of Chimera stock.

4 12/27/2011 A.LF.

 

Wire transfer from Farmer’s Iridium Capital
account XXXX6635 to B.L. for $3,050 to fund
B.L.’s purchase of 200,000 shares of Chimera
stock.

5 1/9/2012 A.LF.

 

Wire transfer from Farmer’s Iridium Capital
account XXXX6635 to K.M. for $10,000 to
fund K.M. and J.M.’s purchase of 400,000
shares of Chimera stock.

6 1/12/2012 A.LF.

 

Email from Farmer to C.G. instructing him to
submit documents to Pennaluna related to
Chimera’s Form 211 application, which
concealed the facts that the 29 investors in
7 1/13/2012 A.LF. Chimera’s [PO were in fact straw-investors for
Farmer and his associates, and that ownership
of the majority of outstanding, freely tradeable
stock of Chimera was therefore concentrated in
the hands of Farmer and his associates.

 

 

 

 

 

 

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2/3/2012

A.LF.

Email from Farmer to C.G. instructing him to
submit documents containing Chimera’s
response to FINRA’s February 1, 2012
deficiency letter, which concealed the facts that
the 29 investors in Chimera’s IPO were in fact
straw-investors for Farmer and his associates,
and that ownership of the majority of
outstanding, freely tradeable stock of Chimera
was therefore concentrated in the hands of
Farmer and his associates.

 

7/27/2012

ALF.

Email from Farmer to A.V., copying C.G. and
D.L., which caused a Form 8-K to be filed with
the SEC containing a fraudulent “License
Agreement” with “China Inland Oil
Exploration Company,” purportedly granting
Chimera a license for the “exclusive use... of
the environmentally friendly oil & gas
extraction procedure . . . known as Non

Hydraulic Extraction.”

 

10

7/30/2012

A.LF,,

T.G.M.

Transmission of a press release that falsely
stated Chimera had “licensed Non-Hydraulic
Extraction,” and that Chimera had “put in place
their procedure for engineering this new
method for mass _ production, patenting,
licensing, and sales.”

 

li

8/9/2012

A.LF.,

T.G.M.

Transmission of a press release that falsely
stated Chimera had “executed a Memorandum
of Understanding with PEMEX, also known as
Petroleos Mexicanos, regarding the utilization
of [Chimera]’s revolutionary exothermic Non-
Hydraulic Extraction method throughout Latin
America.”

 

 

12

 

8/10/2012

 

A.LF.,

T.G.M.

Transmission of a press release that falsely
stated Chimera management “has been
scheduled to directly meet with PEMEX
associates in Mexico City beginning this
Monday regarding a collaboration for utilizing
[Chimera’s] revolutionary exothermic Non-
Hydraulic Extraction method throughout Latin
America.”

 

 

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Transmission of a press release that falsely
stated Chimera management “arrives in Mexico
A.LF., City this morning for their direct meetings with
T.G.M. PEMEX< to collaborate on utilizing [Chimera’s]
revolutionary exothermic Non-Hydraulic
Extraction system throughout Latin America.”

13 8/13/2012

 

Transmission of a press release that falsely
stated Chimera’s President, C.G., “has just
returned from fruitful meetings in Mexico City,
where PEMEX and Chimera have begun to
collaborate on __ utilizing {Chimera’s]
revolutionary exothermic Non-Hydraulic
Extraction system throughout Latin America.”

A.LF.,

14 8/20/2012 TGM.

 

Email from Farmer to D.L., copying A.V., with
attachment “CHMR - Shareholder Letter -
8.28.12.docx,” which caused a Form 8-K to be
filed with the SEC that falsely stated: “During
our recent visit to PEMEX we discussed
engineering plans to utilize our technology on 3
wells chosen by PEMEX,” and “We have an
executed Memorandum of Understanding with
PEMEX related to our Non-Hydraulic
Fracturing technology.”

15 8/28/2012 A.LF.

 

Email from Massey to C.G. requesting approval
of a press release that falsely stated Chimera
A.LF., management “has formulated a 90-day schedule
T.G.M. for the first deployment of Non-Hydraulic
Shale Oil Extraction in the Chicontepic Basin
of Mexico.”

16 9/10/2012

 

Email from Massey to B.R. requesting approval
of a press release that falsely stated “Chimera
Energy Corp and PEMEX Complete First
Collaboration at Chicontepic Basin” and “the
first activities in Poza Rica, Mexico between
the two companies have been completed with
very good results.”

A.LF.,

17 10/9/2012 T.GM.

 

 

 

 

 

 

63. Each of the wire communications listed above constituting a separate and distinct

violation of 18 U.S.C. § 1343.

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NOTICE OF CRIMINAL FORFEITURE
28 U.S.C. § 2461(c); 18 U.S.C. § 981(a)(1)(C)

Pursuant to Title 28, United States Code, Section 2461(c) and Title 18, United States Code,
Section 981(a)(1)(C), the United States gives notice to the defendants,

ANDREW IAN FARMER, and
THOMAS GALEN MASSEY,

that in the event of conviction of any of the offenses charged in Counts | through 17 of this
Indictment, the United States intends to seek forfeiture of all property, real or personal, which
constitutes or is derived from proceeds traceable to such offenses.
Money Judgment
Defendants are notified that upon conviction, a money judgment may be imposed equal to
the total value of the property subject to forfeiture, for which the defendants may be jointly and
severally liable. That amount is estimated to be, but is not limited to, approximately $6,889,497.01
in United States dollars.
Substitute Assets
Defendants are notified that in the event that property subject to forfeiture, as a result of
any act or omission of defendants,
(A) cannot be located upon the exercise of due diligence;
(B) _ has been transferred or sold to, or deposited with, a third party;
(C) _ has been placed beyond the jurisdiction of the court;
(D) _ has been substantially diminished in value; or

(E) has been commingled with other property that cannot be divided without difficulty,

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it is the intent of the United States to seek forfeiture of any other property of the defendants up to
the total value of such property pursuant to Title 21, United States Code, Section 853(p),
incorporated by reference in Title 28, United States Code, Section 2461 (c).

A TRUE BILL:

ORIGINAL SIGNATURE ON FILE

FOREPERS@Y OF THE GRAD JURY

     

“ LS a
Justin R. Martin
Assistant United States Attorney

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